       Case 6:21-cv-02017-RBD-LHP Document 1-3 Filed 11/30/21 Page 1 of 33 PageID 7
F'iliiZg # 136254926 E-F'iled 10/11/2021 08:03:26 AM



                       IPvT TI-IE COUNTY COURT OF TIIE NINTIJ JUDICIAL CIRCUIT
                                   IN AND FOR ORANGE COUNTY, FLORIDA

         KAREN REYES,

                Plaintiff,
                                                                                          Case No.: 2021-CC-®13359-0
         LV
                                                                                          JURY TRIAL DEMANDED
         FIRST NATIONAL COLLECTION BUREAU,
         INC.,
                                                                                          INJUNCTiVE RELIEF SOIIGIIT
                Defendant.
                                                                          II

                                                 FIRST AN'IENDED COMPLAINT

                 Plaintiff Karen Reyes ("Plaintiff') sues Defendant First National Collection Bureau, Inc.

         ("Defendant") for violations of the Florida Consumer Collection Practices Act ("FCCPA") and the

         Fair Debt Collection Practices Act ("F.DCPA")

                                                   JURISDICTiON AND VENUE

                 l.         This Court has subject lnatter jurisdiction over Plaintiff and Defendant

         (collective.ly, the "Parties"), because the cause of action arises within the jurisdiction of this Court

         and, thus, venue and jurisdict.ion are proper.

                 2.         This Court has personal jurisdiction over Defendant because Defendatit is

         operating, present, and/or doing business within this jurisdiction and because the complained of

         conduct of Defendant occurred witliin Orange County, Florida.

                 3.         The amount in controversy is greater than $8,000, but does not exceed $15,000,

         exclusive of costs, interest, and attorcieys' fees, and is otherwise within this Court's jurisdiction.

                 4.         Venue of this action is proper in this Court because, pursuant to Fla. Stat. § 47.011,

         et seq., the cause of action alleged below arose in Orange County Florida.


                                                                                                                            PAGE I 1 of 7
                                                LAW OFFICES OF JIBRAEL S. HINDI, PLLC
                      110 SG Gt.h Stseet., 17th Floor I Ft. Lauderdale, Florida 3$301 1 Phone (954) 907-1136 1 Fax (855) 529-9540
                                                                  y_~,.11ha a: l l,a, n- r,om
Case 6:21-cv-02017-RBD-LHP Document 1-3 Filed 11/30/21 Page 2 of 33 PageID 8




                                                            PARTIES

         5.         Plaintiff is a. natural person, and a citizen oCthe State of Florida, residing in Orange

 County, Florida.

         6.         Defendant is a Nevada Corporation, with its principal place of business located in

 Rello NV 89501.

                                            DENIAND FOR JUIZY TI2IAI.

         7.         Plaintiff, respectfully, demands a trial by juty on all counts and issues so triable.

                                             FACTUAL AI,LEGATIONS

         8.         On a date better lcnown by Defendant, Defendaiit began attempting to collect a debt

 (the "Consumer Debt") fi•om Plaintiff.

         9.         The Consuiner Debt is an obligation allegedly had by Plaintiff to pay money arising

  froni a transaction between the creditor of the Consumer Debt, Security Credit Services LLC, and

 Plaintiff involving an unsecured line of credit for the personal use of Plaintiff. (the "Subject

 Service").

         10.        The Subject Service was primarily for personal, family, or household purposes.

         11.        Defendan.t is a business entity engaged in. tlie business ofsoliciting consumer debts

 for collection.

         12.        Defendant is a business entity engaged in the business of collecting consumer debts.

         13.        Defzndant regularly collects or attempts to collect, directly or indirectly, debts

 owed or due or asserted to be owed or due another.

         14.        Defcndant is registered with the Florida Officc of Financial Regitlation as a

 "Consumer Collection Agency."

         15.        Defe.ndant's "Consumer Collection Agency" license number is CCA0900315.

                                                                                                                        PA(;E 12   of 7
                                         LAW OFFICES OF JIBRAEL S. HINDI, PLLC
              110 SE 6th St.reet, 1.7t.h Flom• I Ft. Lauderdale, Florida :33301 1 Phone (951) 907-1136 1 Fax (855) 529-9540
                                                        w yv w..l ihra el ],a w. r.oc3i
Case 6:21-cv-02017-RBD-LHP Document 1-3 Filed 11/30/21 Page 3 of 33 PageID 9




         16.      Defetidant maintains all the records specified in Rule 69V-180.080, Florida

 Administrative Code.

         17.      The records specified by Rule 69V-140.080, Florida Administrative Code, of whicl.i

 Defendant does maintain, are current to witliin one weelc of the current date.

         18.      Defeildalit is a"debt collector" within the meanirig of 15 U.S.C. S 1692a(6).

         19.      Defendailt is a"person" within the meaning of Fla. Stat. § 559.72.

         20.      On a date better known by Defendant, Detandant transmitted Plaintiff's personal

 info.rrnation to a third-party (the "Third-Party").

         21.      The personal inforination Defendant transmitted to the Third-Party included, but

 was noi lilnited to: IiI Plaintiff s name; [2] Plaintiff's address; [3] the existence of t.he Consumer

 Debt; [41 the amount of the consumer debt; [51 the creditor of the Consumer Debt; [6) that Plaintiff

 was the atleged debtor of the Consumer Debt; [71 inforinatioli regarding the Subject Service; a.nd

 181 that Plaintiff did not pay the Consumer Debt and/or defaulted on the Consumer :Debt

 (collectively, the "Transmitted. hiformation")

         22.      Tlie Third-Party, of whom Defendant translnitted Plaintift's personal information

  to, complied Plaintiffs personal iliPormation and prepared a letter that was to be sent to P.laintiff

  i.i an. attempt to collect the Consumer Debt.

          23.     The Transmitted Information affected Plaintiff's reputation. For example, the

  transmission of such infonnation affected Plaintiff's reputation regarding the repayment of debts,

  Plaintiff s reputation of ti-uthfulness, Plaintiff's reputation of solvency, and Plaintiff's reputation

  regarding trl.istworthiness.

          24.      Defe.ndant's transmissi.on of Plain.tiff's person.al .information to the "Thud-Party was

  a colYnnunication in connection with the collect of the Consunier Debt.

                                                                                                                    PAGE13of7
                                     LAw OFFICES OF JIBIi,AEL S. HINDI, PLI.0
             110 SE 6th Street, 17th Flom• I Ft. Lauderdale, Florida 33301 1 Phoiie (954) 907-1136 1 Fax (855) 529-9540
                                                    4t;5ci   55,,.;iiirael.],Hw.r,o:n
Case 6:21-cv-02017-RBD-LHP Document 1-3 Filed 11/30/21 Page 4 of 33 PageID 10




          25.         In addition to transmitting Plaintiff's personal infonm.tion to the Third-Party,

  Defendant also transinitted Plaintifl's persolial infot•tnation to otlier• third-party entities in

  coDIection with the collection of the Consumer Debt. Defendant transmitted such information to

  these otlief- third-party entities by, inch.iding but rrot limiteif to: [11 utilizing "slcip trace" setvices;

  [2[ utilizing bankruptcy, SCRA, probate, and other "sc.t-ubbing" services; and [31 utilizillg

  intlependerlt. third-partv contractors to attempt to collect tlle Consuiner debt fi•ojn Plaintiff.

          26.         On a date better known by Defendant, Defendant sent the letter prepared and!or

  complied by the Third-Party to Plaintiff, of whicli was internally dated September 28, 2021, (the

  "Collection Letter") in an attempt to collect the Consumer Debt.

          27.         Attached as Exhibit "A" is a copy of Collection Letter.

          28.         Defendant's transmission of Plaintiff's personal information to the Third-Party i.s

  an explicit violation of § 1692c(b) of the FDCPA. See Hwlstein v. Preferred Collection & Mgnit.

  Servs., No. 19-14434, 2021 U.S. App. LEXIS 11648 (I lth Cir. Apr. 21, 2021) (a coniplete copy

  of the Hunstein opinion is attached as Exhibit "S")

          29.         The Collection Letter contains a bar code, discreet tracking numbers, and/or Quicic

  Response ("QR") code, of which are indicative of Defendant's use of the Tliird-Party to prepare,

  print, pacicage, compile, and/or otherwise send the Collection Letter.

          30.         For Defendaiit to maintain a i°alid consumer collection agency license with the

  Florida Department of State (so to otlhei-tvise laiifulli, collect, or atteml)t to collect, coizsunaer debts

  ftom Floricla consuyriet-s) Defendant knew it was required to tailor its (Defendant's) debt collector

  methods to be in compliance with both the FDCPA and FCCPA.

          31.         Defendant lcnew that the Transmitted Infori•nation constituted an unlawful

  transmission of Plaintiff's personal information in violation of § 1692c(b) of the FDCPA.

                                                                                                                      PAGi; 14   of 7
                                         LAW OFFICES OF eTIBIiAEL S. HINDI, PLLC
                110 SE 6th Street, 17t.h Floor I Ft. Lauderdale, Florida 33301 1 Phone (954) 907-1136 1 Fax (855) 529-9Fi40
Case 6:21-cv-02017-RBD-LHP Document 1-3 Filed 11/30/21 Page 5 of 33 PageID 11




          32.     The Third-Party did not have any legitimate need for the Transmitted Information,

  as the Transmitted Inforination constituted an unlawful transmission of Plaintifl's personal

  infoiznation in violation of § 1692c(b) of the FDCPA.

                                                           COUN'r 1
                                     VIOI,A'I'IOl`I ®F 15 U.S.C. & 1692c(ib)

          33.      Plaintiff incorporates by reference paragraphs 1-32 of this Coinplaint.

          34.      Pursuant to § l 692c(b) of the FDCPA, "a debt collector may raot cornniunicate, ita

  connectiorr tivith th.e collection of any debt, with ai2y pe7son other thrcn tlie c'onslflneY, his attornev,

  a conszenzer• reporting a;ency if othei-wise perinitted by law, the creditor, the attorney of the

  cr-eclita; of- the attorn.ey of the debt collector." 15 U.S.C. 1692c(b) (emphasis added).

          35.      As set forth above, Defendant's transmission of Plaintiff's personal information to

  the Third-Party violates § 1692c(b) of the FDCPA. See Hunstein, No. 19-14434, 2021 U.S. App.

  LEXIS 1 1648 ("[w]e hold (l) that a. violation of § 1692c(b) gives rise to a concrete injury in fact

  under At-ticle III and (2) that the debt collector's transmittal of the consumer's personal informatioti

  to its dunning vendor constituted a communication `in connection with the collection of any debt'

  within the meaning of § 1692c(b).") Accordingly, Defendant violated § 1692c(b) of the FDCPA

  wlien it transmitted Plaintift's personal inforrnation to the Thit-d-Party.

          36.      WHEREFORE, Plaintiff; respectfully, requests this Cotirt to enter a judgment

  against Defendant, awarding Plaintiff the following relief:

                   (a)       Statutory and actual damages as provided by 15 U.S.C. § 16921c;

                   (b)       Costs and reasonable attorneys' fees pursuant to 15 U.S.C. § 16921c; and

                   (c)       Any other relief that this Court deems appropriate under the circumstances.




                                                                                                                 PAGE 15 of 7
                                     LAW OFFICES OF JIBRAEL S. HINDI, PLLC
             110 SE 6th Street, 17th Flom• I Ft. Lauderdale, Florida 33301 1 Yhone (95d) 907-1136 1 Fax (855) 529-9540
                                                       ;vw~v.l'~,i raell~aw.cum
Case 6:21-cv-02017-RBD-LHP Document 1-3 Filed 11/30/21 Page 6 of 33 PageID 12




                                               COulv'r 2
                                  VIOLATIO1oT OF FLA. STAT. § 559.72(5)

          37.      Plaintiff incorporates by reference paragraphs 1-32 of this Complaint.

          38.      Pursuant to § 559.72(5) of the FCCPA, in collecting consumer debts, no person

  shall: "[clJisclose to a persoii otlher than the debtot• or her or• his fanzilv infornzation affecting the

  debtor's i•epiitatiofr, whether• or not for cr•edit ivortiriness, rvith knolvledge or reason to krzoi-v that

  the othet• person cloes not have a legitinaate bcasiness need for the iyformatiota ot- that the

  iqfor•lnation is false." Fla Stat. § 559.72(5) (emphasis added).

          39.      As set forth above, Defendant unlawfully transmitted Plaintitt's pet-sonal

  infonnation, by and through the Transmitted Information, to the Third-Party, whereby said

  transmitted information affective Plaintiffs reputation because the Third-Party did not have any

  lcgitinaate need for unlawfully transmitted personal information of Plaintiff.

          40.      WHEREFORE, Plaintiff, respectfully, requests this Court to enter a judgment

  against Defendant, awarding Plaintiff the following relief:

                   (a)       Statutory and actual damages pursuant to Fla. Stat. §559.77(2);

                   (b)       An injunction prohibiting Defendant fi•om engaging in further collection
                             activities directed at Plaintiff that are in violation of the FCCPA;

                   (c)       Costs and reasonable attoi-neys' fees pursuant to Fla. Stat. §559.77(2); and

                   (d)       Any other relief that this Coui-t deems appropriate under the circumstances.

                         [RE1l~IAINDER OF PAGE INTENTIONALLYLEFT BLANK]




                                                                                                                  PAGE 16 of 7
                                     LAw OFFICE5 OF JIBRAEL S. HINDI, PLLC
             110 SE 6th Street, 17th Floor I Ft. Lauderdale, Floizda 38801 1 Phone (954) 907-1186 1 Fax (8.55) 529-9540
                                                        w w kv .7ibraol.l.,ti w. cont
Case 6:21-cv-02017-RBD-LHP Document 1-3 Filed 11/30/21 Page 7 of 33 PageID 13




        DATED: October 11, 2021
                                                                Respectfully Submitted,

                                                                  /s/ Jibrael S. Hindi
                                                                JIBItAEL S. HINDI, ESQ.
                                                                Florida Bar No.: 118259
                                                                E-mail: jibrael@jibraellaw.com
                                                                TIdOIVIAS J. PATTI, ESQ.
                                                                Florida Bar No.: 118377
                                                                E-inail: tom@jibraellaw.com
                                                                TI-IE LAW OFFICES OF JIBRAEL S. HINDI
                                                                I 10 SE 6tli Street, Suite 1744
                                                                Fort Lauderdale, Florida 33301
                                                               Phone:          954-907-1136
                                                                Fax:           855-529-9540




                                                                                                                 PAGE 1 7 of 7
                                   LAw OFFICF5 OF JIBRAEL S. HINDI, PLLC
          110 3E 6th 5t.reet, 17th Flooi• I Ft. Lauderdale, Floiida 33301 1 Phone (95•1) 907-1136 1 Fax (855) 529-9540
                                                     n~,vs_libracilsf,.
                                                         ,              com.
Case 6:21-cv-02017-RBD-LHP Document 1-3 Filed 11/30/21 Page 8 of 33 PageID 14




                      ~~
                                                                                                                                                                                              ll iv S1,bCt
                                                                                                                                                                                                                                                                                                     8~09                                                                    ---=S~i3S..
                                                                                                                                                                                                                             3Wriyd ,                        V1+~!>I~ijyS1b0                                               --                --.
                                                                                                                                                                                                                                                                                                                                             l t'fi9$ •'11hJ'r 1N~G! A Nd
                                                                                                                                                           .                   ~%
                                                                                                                                                                                ~ er n,~~nS
               l                                                                                                                                                                                                  ~11aarltti'1 C8 l                                                      10~68l~N 4ua8'                     .                  .                 .                       -
                                                                                                                                                                                                                    ah1 SQPJ~ ±                                   C~Gt.ai'S i~iA                                                                                kt?ZBriN.'0+.'a~{
                                                                                                                                                                                              (~                                                                                                    1 N, Qy
                                                                                                                                                                                                                                                                                                                                                                                     1.; • OS.
                                         .                                                                                                                                         ..     ,..                                                                                                                     t                                                              oa11tifik:
                                          ,                                                                                                                                    _                    •               tr4?OZ`~: la~1;                                                                               ,
         'a~~k, '                                                                                                                        S dQ ir ;
                                                                                                                                                                                                                                                                                               v^ ~~
                                                                                                                                                                                                                             6 ~o c                                                                        id~}                                                 e~               ~
                                                                                                                                                                                                           ~~'9                                                                                                                                             ~OYJt~~ •~f~
                        ~                                  _                                                                                        _     . ,d                                                                                                          .       }"(r .                       ~
                                                                                                                                                                                                                                                                                                     'e ~c a ~
                                         ~                                                                                                                                     4''}~r t•?il~;`~                                       ,-~                                                                                                                                            8 ~o ~
                                                                                                                                                                                                ~I.l....i'!1 r
                                                                                                                                                                                                                                                              n
                                                                                                                                                                                                                                                                         ,'°E
i          ~a F y                   Y~                                                                          ~                                                  t     '.                             .                                            ~ ,~~''~~i ~ L[~ ~ ~."+?•                             ~                 r
h          , ~                                                                                                                                                    'd'~'§#~~'~ ~                         i[~~ ~Y $ ~ ~ # "d                  ~ _        ~'~'~'~•"~ry°~".~ ~xax>~ ~~`l~f;.4.:~ e< x '~ ~ .:b                 e '
                                                                                                                                               -•                                                                                                                                                                                                                    .
    ry                                                                         `\
'"~ ' 4-                    1        ~                                                                                                                                                                                                      e~ • ..x W•~'               ; ~~..4,~~a ~~~~,'~J k°~:» 4                                                        .                .       .
      ~                             T.                                                                              _..                                                                                                                                                 ,y
~          :                        .,        .                 ~          81! fk~.       ,M,'.: °7                           ^4CS        ..                          ~                                 R~   ~                  ,                 ,Y~             ~"q   y'~!`       ,yys~.~g
                                                                                                                                                                                                                                                                           Y'~ 9~ ~`~     `C ~                                       ~             y'
                                                                                                                                                                                                                                                                                           f
                                                                                                                                                                                                                                                                                             3' ~   •4 '~5 : bt ,                                                                               ..
                                                                                                                                                                           ,                   .
                                                                                                                                                                                                                           s~~!.:                     ~r~ F              " ~'S~                ~~ ~'~~r~+i± ,               ~~
(          -~~                  '                                                                                                                                                         ry~a. .                ,.,~.~.~`
                                                                                                                                                                                                                   `-M1             ~7^~•3 ~                                              .1           `~ ;S
                                                                                                                                                                                                                                                         F    ~
a'~                                                                                                                                                                                                          ~, ) 5
                                                                                                                                                                                                                                                       .
                                                                                                                                                                                                                              01rit~ 3ti?yl Jvj ~n 014 Il~~ €~uiBarU UOp WJ4;tl~ d
                                                                                                                                                                                                                                                                                                                                     a                                                       « tl t~'
                                                                                                                                                                                                                                                                                                                                                                                                    y
                                                                                                                                                                                                                                                                                                                           •~ ~.. . _.._ ,_
                                                                                                                                                                                                                                                              l6t9-p28 (Jc~8i.1!ea as;e2ld an8eyuasatCaxe:+~I+n ~r~, ~, ys:N,~{ yt
                                                                                                                                                                                                                                                                                                    ~eiu naX ~u,oa
                                                                                                                                                                                                                                                     uo~ne;a.c~ laalas:pue fot9-bZ8. (Od8) !ia~ '~t~4d
                                                                                                                                                                                                                                                                                                                      3;}O;                                                   )Otf dle G~s.
                                                                                                                                                                                                                                                        39'!GSc 6uy!e;ci s}uautkd g ts+ a yPded                                                                 A~e'
                                                                                                                                                                                                                                                                                         :1a}yo { 2iui~Ir~s+p 6ulrr ol!o~ e li p;;a)xa or:s~q prus~
                                                                                                                                                                                                                                                                                     t,eia laawl9d hi4jvaui.a ua ju,t~f~ j+)e f dji
                                                                                                                                                                                                                                                                                                                                                        P.G} 'dE0
                                                                                                                                                                                                                                                                                                                                                        ~a..~~ (=..r'l p.Ry!'~:k•~
                                                                                                                                                                                                                                                                                                                                                        :Z`.~~.5' `~~r' ~•''~L'' {Er'u
                                                                                                                                                                                                                                                                                                                                                        t'fimY4,sy,niFj ME; ;~Z.
                                     1                 ~ L,}tf : 6:i , y        r1 o t O           ,:{)   JIm_S1, lj
'                                                                                                                                                                                                                                                                                                                                                       ~O:ut'~pJ,qf.uA _'c,,~i
                                                                                    jI w - {1o1)Jil."}. stl? :lp~                                                                                                                                                                                                                                       I                                sf !osC
    ~                                "•i ~.'ati;.r t} ', ~:;i;;~ ~u}} i~aaai
                                                                                                                                                                                                                                                                                                                                                        ri~tasyn}~: c1 s+ s~U3
                                                                                                                          t
    ~.                                                                                                                    ~
                   if
                                                                                                                                                                                                                                                                                                               4tbrlkqV          e IVi.y~il.
    .                   .                                                                      .                          ~          .                                    n Jh'}5
                                                                                                                                                                                                                                                                                                                                     1jjjji,&j€y~E~}~~~.€€lt~i
                                                                                                                                                              r
                                                                                                                                                         :..                                                                                                                                              =x_                                                    0(7Y
                                                                                                                                                                                                                                                                                                    H.                                                                                   .
                                                                                                                                                                                                                                                                                                         ~.,~~~,ii.i~:f:~ l i~~l::~l{~lt~l~:'i7~-.S~.
                                                                                                                                                                                                                                                                                                                                         ,
                                                                 ~t;,                i.. : :) . .. •; ,rY,.i                              :                       ,        ,'. -              ,.                         .                                                                                                                    ._ t : vr
                                                                                                                                                                                                                                                                                                                                                     ., .. _ .                                          -
                                                                                                                                                        ~'•                                                                                                                                                                 ;
                                                                                                                                                                                                                                                                                                                                                                         ~
                                                  ..                                         ' r                          ,                                                                                                                                  •'                                                                                         u
                                                                                                                                     ; f4i '~'          r Y:          ~                 s{.
                                                   ~                                    r F ~... t          2                    ~r                                                                                                                                                                                                                                  :~3                                    •
                                                  ',           / ~~. :
                                                                     .                                              -.        ~'~"~„                                           ..                                                             .                                                                             -                                           y~..~ . ~~.
                                                                                                                                       , }~~r                       ~. ~•
                                                                                                                                                              raf- ..;                                                                           _           _                           .:.-                                                                                                   .    y      ..
         ~.:                                  .;                                                                                                                                                                                                                   w~                    "s.t          .~. .          [a    =    ,                                               5
                                                          r       ~ :' •                  - .x ,?i        A~ . ~:.r u           ~f ''-:'~'~`~'~y1'~f+1t., t~.~.•~ ,t ~•,,,~a,...'                                                             :. ~        '~~ ,.^t
                                                         Case 6:21-cv-02017-RBD-LHP Document 1-3 Filed 11/30/21 Page 9 of 33 PageID 15
Case 6:21-cv-02017-RBD-LHP Document 1-3 Filed 11/30/21 Page 10 of 33 PageID 16




                       EXHIBIT "B"
Case 6:21-cv-02017-RBD-LHP Document 1-3 Filed 11/30/21 Page 11 of 33 PageID 17

            RJSCAII Case: 19-14434      Qate Fiied: 04/21/2021   Page: 1 of 23


                                                                           [PUBLI SH]

                  IN THE UNITED STATES COURT OF APPEALS

                           FOR THE ELEVENTH CIRCUIT


                                     No. 19-14434


                      D.C. Docket No. 8:19-cv-00983-TPB-TGW



   RICHARD HUNSTEIN,

                                                                  Plaintiff - Appellant,

                                        versus

   PREFERRED COLLECTION AND MANAGEMENT SERVICES, INC.,

                                                                 Defendant - Appellee.



                      Appeal from the United States District Court
                          for the Middle District of Florida


                                    (Apri12 ] , 2021)

   Before JORDAN, NEWSOM, and TJOFLAT, Circuit Judges.

   NEWSOM, Circuit Judge:

         This appeal presents an interesting question of first impression under the

   Fair Debt Collection Practices Act and, lilce so many other cases arising under
Case 6:21-cv-02017-RBD-LHP Document 1-3 Filed 11/30/21 Page 12 of 33 PageID 18

             USCA11 Case: 19-14434       Date FiBed: 04/21/2021    Page: 2 of 23


   federal statutes these days, requires us first to consider whether our plaintiff has

   Article III standing.

         The short story: A debt collector electronically transmitted data concenling

   a consumer's debt—including his name, his outstanding balance, the fact that his

   debt resulted from his son's medical treatment, and his son's name—to a third-

   pai-ty vendor. The third-party vendor then used the data to create, print, and mail a

   "dunning" letter to the consumer. The consumer filed suit alleging that, in sending

   his personal information to the vendor, the debt collector had violated 15 U.S.C. §

   1692c(b), which, with certain exceptions, prohibits debt collectors from

   conununicating consumers' personal infonnation to third parties "in connection

   with the collection of any debt." The district court rej ected the consumer's reading

   of § 1692c(b) and dismissed his suit. On appeal, we must consider, as a threshold

   inatter, whether a violation of § 1692c(b) gives rise to a concrete injury in fact

   under Article III, and, on the merits, whether the debt collector's communication

   with its dunning vendor was "in connection with the collection of any debt."

          We hold (1) that a violation of § 1692c(b) gives rise to a concrete injury in

   fact under Ai-ticle III and (2) that the debt collector's transmittal of the consumer's

   personal uiforination to its dunning vendor constituted a communication "in

   connection with the collection of any debt" within the meaning of § 1692c(b).




                                              2
Case 6:21-cv-02017-RBD-LHP Document 1-3 Filed 11/30/21 Page 13 of 33 PageID 19

            USCA11 Case: 19-14434       Date Fiied: 04/21/2021   Page: 3 of 23


  Accordingly, we reverse the judgment of the district court and remand for further

  proceedings.

                                             I

         Congress enacted the FDCPA "to eliminate abusive debt collection practices

  by debt collectors" and "to protect consumers against debt collection abuses." 15

  U.S.C. § 1692(e). To that end, § 1692c(b) of the FDCPA, titled "Corninunication

  with third parties," provides that

         Except as provided in section 1692b of this title, without the prior
         consent of the consumer given directly to the debt collector, or the
         express perinission of a court of coinpetent jui-isdiction, or as
         reasonably necessary to effectuate a postjudgment judicial remedy, a
         debt collector may not communicate, in connection with the collection
         of any debt, with any person other than the consumer, his attorney, a
         consuiner reporting agency if otherwise permitted by law, the creditor,
         the attorney of the creditor, or the attorney of the debt collector.

   15 LJ.S.C. § 1692c(b). The provision that § 1692c(b) cross-references—§ 1692b—

   governs the manner in which a debt collector may communicate "with any person

   other than the consurner for the purpose of acquiring location illforniation." 15

   U.S.C. § 1692b. The FDCPA thus broadly prohibits a debt collector from

   conlmunicating with anyone other thari the consumer "in connection with the

   collection of any debt," subject to several carefully crafted exceptions—some

   enumerated in § 1692c(b), and others in § 1692b.

         Richai-d Hunstein incurred a debt to Johns Hopkins All Children's Hospital

   arising out of his son's medical treatnlent. The hospital assigned the debt to
                                             3
Case 6:21-cv-02017-RBD-LHP Document 1-3 Filed 11/30/21 Page 14 of 33 PageID 20

              IJSCA11 Case: 19-14434          Date FiBed: 04/21/2021        Page: 4 of 23



  Prefen-ed Collections & Management Services, Inc. for collection. Preferred in

  turn hired Compuinail, a Califoi-nia-based coiniilercial mail vendor, to handle the

  collection. Prefened electronically transmitted to Coinpumail cei-tain inforiiiation

  about Hunstein, including, among other things: (1) his status as a debtor, (2) the

  exact balance of his debt, (3) the entity to whicli he owed the debt, (4) that the debt

  concerned his son's medical treatment, and (5) his son's name. Compumail used

  that information to generate and send a dunning letter to Hunstein.

          Hunstein filed a complaint, alleging violations of both the FDCPA, see 15

  U:S.C. §§1692c(b) and 1692f, and the Florida Consumer Collection Practices Act,

  see Fla. Stat. § 559.72(5). As relevant here, the district court dismissed Hunstein's

  action for tailure to state a claim, concluding that he hadn't sufficiently alleged that

  Pr-eferred's transmittal to Compumail violated § 1692c(b) because it didii't quality

  as a conlmunication "in connection with the collection of a[ny] debt."'




   ~ The district court held for the same reason that Hunstein had not stated a claim for a violation
   of § 1692£ The district cow-t then declined to accept supplemental jurisdiction over Hunstein's
   state law claim. Htulstein's appeal addresses only the portion of his complaint relating to
   ti 1692c(b).

                                                    4
Case 6:21-cv-02017-RBD-LHP Document 1-3 Filed 11/30/21 Page 15 of 33 PageID 21

             USCA11 Case: 19-14434           Dato Fi9cd: 04/21/2021       Page: 5 of 23



          Hunstein appealed, and we requested supplemental briefing on the question

  whether he had Article III standing to sue, which we now consider along with the

  merits.'

                                                  II

          First things first. Because standing iniplicates our subject matter

  jurisdiction, we must address it at the outset, before turning to the merits. Steel Co.

   V. Citizeiis.for• a Better Env't, 523 U.S. 83, 101-02 (1998).        Article III of the

  Constitution grants federal courts "judicial Power" to resolve "Cases" and

  "Controversies." U.S. Const. art. III, §.S 1-2. This case-or-controversy

  requirement, which has been consti-ued to embody the doctrine of standing,

  "confines the federal courts to a properly judicial role." Spokeo, Itac. v. Robins,

   136 S. Ct. 1. 540, 1547 (2016). The "irreducible constitutional minimum" of Article

   III standing entails tliree eletnents: injuiy in fact, causation, and redressability.

  Lztjan v. Def's. of Wildlife, 504 U.S. 555, 560-561 (1992).

          I-Iunstein's appeal involves the first element, injury in fact, which consists of

   "an. invasion of a legally protected interest" that is both "concrete and


   = VlWhether Hunstein has standing to sue is a threshold jurisdictional question that we review de
   novo. Deber•ytardis v. IQ Foryncclations, LLC, 942 F.3d 1076, 1083 (l lth Cir. 2019). "We
   review the decision to dismiss Plaintiff's complaint pursualt to Rule l.2(b)(6) de novo, applying
   the sarne standard as the district court." Holzncan v. Malcol»i S. Ger•ald & Assocs., In.c., 920
   F.3d 1264, 1268 (l lth Cir. 2019). Accepting the complaint's allegations as ti-ue and construing
   the facts in the light most favorable to Hunstein, "the relevant inquiiy is whether Plaintiff has
   stated a`plausible claim for relief under the FDCPA." Icl. (quoting AshcYoft v. Iqbal, 556 U.S.
   662, 679 (2009)).

                                                   5
Case 6:21-cv-02017-RBD-LHP Document 1-3 Filed 11/30/21 Page 16 of 33 PageID 22

             USCA11 Case: 19-14434         f.7ate Fiied: 04/21/2021   Page: 6 of 23


   particularized" and "actual or iinininent, not conjectural or hypothetical." Id. at

   560 (quotation marlcs omitted). In Ti•ichell v. Midland Credit Mgnzt., hrc., 964

   F.3d 990 (l ltli Cir. 2020), a case involving the FDCPA, we reiterated that "[e]ach

  subsidiaiy element of injuiy—a legally protected interest, concreteness,

   pai-ticularization, and imminence—must be satisfied." Id. at 996-97. The standing

   question hei•e implicates the concreteness sub-element.

         A plaintiff can meet the concreteness requirement in any of three ways.

  First, he can allege a tangible han-ri—a category that is "the most obvious and

   easiest to understand" and that includes, among other tliings, physical injury,

   financial loss, and emotional distress. See Muransky v. Godiva Claocolatier-, In.c.,

   979 F.3d 917, 926 (l lth Cir. 2020) (en banc); see also Hi~f v. TeleCheck Serws.,

  Iric., 923 F.3d 458, 463 (6th Cir. 2019). Second, a plaintiff can allege a"ris.k of

   real harm." Mctranslcy, 979 F.3d at 927. Third, in the absence of a tangible injury

   or a risk of real harin, a plaintiff can identify a statutory violation that gives rise to

   an intangible-but-nonetheless-concrete injuiy. Spolreo, 136 S. Ct. at 1549. We

   consider each possibility in turn.

                                               0-
         Hunstein doesn't allege a tangible harm. The complaint contains no

   allegations of physical injuiy, financial loss, or emotional distress. Instead, the

   complaint (1) conclusorily asserts that "[i]f a debt collector `conveys information


                                               :
Case 6:21-cv-02017-RBD-LHP Document 1-3 Filed 11/30/21 Page 17 of 33 PageID 23

                t.lSCA11 Case: 19-14434      Date Filed: 04/21/2021    Page: 7 of 23


  regarding the debt to a third party—inforins the third party that the debt exists or

  provides information about the details of the debt—then the debtor may well be

  harmed by the spread of this information,"' and (2) vaguely references the "lcnown,

  negative effect that disclosing sensitive medical infonnation to an unauthorized

  third-party has on consumers[.]" In his supplemental brief, Hunstein asks us to

  constt-ue these assertions as allegations of emotional harni, arguing that he was

  "humiliated, embanassed, and suffered severe anxiety[.]" But we have "repeatedly

  held that an issue not raised in the disti-ict court and raised for the first time in an

  appeal will not be considered by this court." Access Now, Inc. v. Stiv. Aif•lines Co.,

  385 F.3d 1324, 1331 (llth Cir. 2004) (duotation marlcs omitted). Hunstein thus

   canjlot establish standing on the basis of a tangible harm.



             Nor can Hunstein denionstrate standing by the second route—showing a

   6 `risk   of real harnn." "[W]hile very nearly any level of direct injury is sufficient to

   show a concrete haim, the risk-of-harm analysis entails a more demanding

   standard—courts are charged with considering the magnitude of the risk."

   Nlttranslcv, 979 F.3d at 927. "Factual allegations that establish a risk that is

   substantial, significant, or poses a realistic danger will clear this bar[.]" Iti. at 933.

   F'ut slightly differently, to constitute injuiy in fact, the "threatened injury must be

   certainly impending." Clapper v. Afnnesty Int'l USA, 568 U.S. 398, 409 (2013).

                                                  ~
Case 6:21-cv-02017-RBD-LHP Document 1-3 Filed 11/30/21 Page 18 of 33 PageID 24

            tJSCA11 Case: 19-14434       Date Fiaed: 04/21/2021     Page: 8 of 23


  Again, Hunstein alleges only that a debtor "may well be hanned by the spread" of

  the sort of infonnation at issue here. That vague allegation falls shoi-t of a rislc that

  is "substantial, significant, or poses a realistic dange.r," M-uransl,y, 979 F.3d at 933,

  or is "certainly impending," Clapper, 568 U.S. at 409.

                                              C

        We thus consider whether Hunstein can show standing in the third manner—

  through a statutory violation. "[T]he violation of a procedural right granted by

  statute can be sufficient in some circumstances to constitute injury in fact," such

  that "a plaint.iff ... need not allege any additional hann beyond the one Congress

  has identified." Spokeo, 136 S. Ct. at 1549. Spokeo instilicts that in deternlining

  whether a statutory violation confers Article IIl standing, we should consider

  "histoiy and the judgment of Congress." Id.

                                              1

        Starting with history, we can discenl a concrete iiljuiy where "intangible

  hai-m has a close relationship to a harm that has traditionally been regarded as

  providing a basis for a lawsuit in English or American courts." Id. Put differently,

  we look to "whether the statutory violation at issue led to a type of hai-m that has

  historically been recognized as actionable." Merransky, 979 F.3d at 926.

  Ivluransky explains that the "fit between a new statute and a pedigreed common-




                                              :
Case 6:21-cv-02017-RBD-LHP Document 1-3 Filed 11/30/21 Page 19 of 33 PageID 25

            USGA11 Case: 19-14434        Gate. Fiied: 04/21/2021    Page: 9 of 23


  law cause of action need not be perfect, but we are called to consider at a ininimum

  whether the harms match up between the two." Id.

         For more than a century, invasions of personal privacy have been regarded

  as a valid basis for tort suits in American courts. See, e.g., PavesiclZ v. New

  Etzglcznd Life Ins. Co., 122 Ga. 190, 50 S.E. 68 (1905); Mus2den v. Harris, 153 Mo.

  App. 652, 134 S.W. 1076 (1911); Kicnz v. Allen, 102 Kan. 883, 172 P. 532 (1918).

  l3y 1977, the Restatement (Second) noted that "the existence of a right of privacy

  is now recognized in the great majority of the American jurisdictions that have

  considered the question." Restatement (Second) of Toi-ts § 652A cmt. a. (Ain. Law

  lnst. 1977).

         1Vlore particularly, the term "invasion of privacy" coinprises an identifiable

  family of common-law torts—including, mos'L relevantly here, "public disclosure

  of private facts." Invasiofi of'Privacy, Black's Law Dictionary 952 (10th ed.

  2014). It is hornbook law that "[o]ne who gives publicity to a matter concerning

  the private life of another is subject to liability to the other for invasion of his

  privacy, if the matter publicized is of a kind that (a) would be highly offensive to a

  reasonable person, and (b) is not of legitimate concern to the public." Restatement

  (Second) of Toi-ts § 652D (1977); accord, e.g., 77 C.J.S. Right of Privacy and

   Publicity § 32; 62A Am. Jur. 2d Frivacy § 79. Indeed, the Supreme Court itself

   has recognized "the individuat interest in avoidifig disclosure of personal matters"


                                              I
Case 6:21-cv-02017-RBD-LHP Document 1-3 Filed 11/30/21 Page 20 of 33 PageID 26

           USCA11 Case: 19-14434        Dato ff=iled: 04/21/2021   Pago: 10 of 23


  and has recognized that "both the common law and the literal understandings of

  privacy encoinpass the individual's control of infonnation concerning his or her

  person." Unitecl Sta.tes Dep 't of'Jaastiee v. ReporteYs Conam. fos- Freeclom of'the

  Press, 489 U.S. 749, 763 (1989) (citation and quotation marks omitted).

        Having established the historical pedigree of invasion-of-pi-ivacy torts—in

  pat-ticular, the sub-species applicable to the public disclosure of private facts—we

  next consider whether Preferred's alleged statLitory violation is sufficiently

  analogous. Notably, the FDCPA's statutoiy f ndings explicitly identify "invasions

  of individual pi-ivacy" as one of the hamis against which the statute is directed. 15

  U.S.C. § 1692(a). And to that end, the statutory provision under wliich Hunstein

  h.as sued here expressly prohibits a debt collector from "communicat[ing]" with

  any but a i:ew persons or entities "in cotuiection with the collection of any debt."

  Id. fi 1692c(b). Although § 1692c(b) isn't identical in all respects to the invasion-

  of-privacy tort, we have no difficulty concluding that it bears "a close relationship

  to a harm that has traditionally been regarded as providing a basis for a lawsuit in

  English or American courts." Spokeo, 136 S. Ct. at 1549.

        Per•iy v. Cable News Network, Ific., 854 F.3d 1336 (l lth Cir. 2017), strongly

  supports that c.onclusion. Per•iy concerned a plaintiff's allegations that CNN

  divulged his news-viewing histoiy to a thil•d-pat-ty in violation of the Video

  Privacy Protection Act. Emphasizing the widespread recognition both of the right


                                             10
Case 6:21-cv-02017-RBD-LHP Document 1-3 Filed 11/30/21 Page 21 of 33 PageID 27

           USCA11 Case: 19-14434        ®ate t=ileci: 04/2112021   Page: 11 of 23


  to privacy in general and, more particularly, the privacy interest implicated by the

  VPPA—the interest in preventing the disclosure of personal information—the

  Court in Perrj, concluded that the statutory violation of the VPPA constituted a

  cognizable Article III injuiy. Id. at 1341 (citing Reporters, 489 U.S. at 762-63).

  Hunstein's allegations closely resemble those in Perry. The VPPA prohibits "[a]

  video tape service provider [from] knowingly disclos[ing], to any person,

  personally identifiable infoi-mation concerning any consumer of such provider."

  18 U.S.C. § 2710(b). As releva.nt here, the FDCPA similarly prohibits a debt

  collector from "coirununicat[ing], in connection with the collection of any debt,

  with any person other than the consumer[.]" § 1692c(b). The two statutes thus

  share a common structure—A may not share information about B with C. Because

  v,-e tind Pei-iy's reasoning persuasive and analogous, we adopt it here.

        Our decision in Ti-ichell does not require a contrary conclusion. That case

  addressed a claim under a dif.ferent FDCPA provision, § 1.692e, which states that a

  "debt collector may not use any false, deceptive, or misleading representation or

  lneans in connection with the collection of any debt." 15 U.S.C. § 1692e. The

  plaintiffs in Trichell alleged that debt collectors had sent them misleading letters,

  and in assessing their claims' pedigree, we determined that the "closest historical

  comparison is to causes of action for fraudulent or negligent misrepresentation."

  964 F.3d at 998. Canvassing the cominon-law history of those torts, we held that


                                             ll
Case 6:21-cv-02017-RBD-LHP Document 1-3 Filed 11/30/21 Page 22 of 33 PageID 28

           USCA11 Case: 19-14L134      Dat~.~ Filed: 04/2112021   Page: 12 of 23


  the plaintiffs' claims laciced the necessaiy "close relationship" to tliem. Id. at 997-

  98. That conclusion is entirely consistent with our holding here that Hunstein has

  standing to sue under a different FDCPA provision. Hunstein's claim, unlilce the

  Trichell plaintiffs', arises under § 1692c(b) and bears a close relationship to a

  common-law tort.

                                             2

         Although it presents a closer question, we conclude that "the j udgment of

  Congress" also favors Hunstein. Congress, of course, expresses its "judgment" in

  only one Nvay—through the text of duly enacted statutes. Even assuming that

  § 1692c(b) does not clearly enough express Congress's judgment that injuries of

  the soi-t that Hunstein alleges are actionable, here Congress went further to

  "cxplain itself." Hiff, 923 F.3d at 466. In particular, as already noted, in a section

  of the FDCPA titled "Congressional findings and declaration of purpose,"

  Congress identified the "invasion[] of individual privacy" as one of the harms

  against which the statute is directed. 15 U.S.C. § 1692(a). That, we think, is

  sufficient.

         It's tltile that we pointed in Trichell to the FDCPA's language that a person

   may recover "any actual damage sustained by such person as a result of' an

   FDCPA violation and "such additional damages as the court may allow," 15

   U.S.C. § 1692k(a), as evidence of Congress's judgment that violations of a


                                            12
Case 6:21-cv-02017-RBD-LHP Document 1-3 Filed 11/30/21 Page 23 of 33 PageID 29

           USCA11 Case: 19-14434       Uate Filed: 04/21/2021   Page: 13 of 23


  different provision—§ 1692e—do not ipso facto constitute a concrete injury.

  Trichell, 964 F.3d at 1000. We don't read § 1692k(a), though, as categorically

  limiting the class of FDCPA plaintiffs to tliose with actual dama.ges—particularly

  where, as here, the FDCPA's statutoiy findings expressly address the-very hai-ni

  alleged—an "invasion[] of individual privacy." 15 U.S.C. § 1692(a).



        Secause (1) § 1692c(b) bears a close relationship to a hai-m that American

  courts have long .recognized as cognizable and (2) Congress's judgment indicates

  that violations of §1692c(b) constihite a concrete injury, we conclude that Hunstein

  has the requisite standing to sue.

                                           III

        Having deterniined that Hunstein has standing to sue under § 1692c(b), we

  now consider the merits of his case. Recall that § 1692c(b) states that, subject to

  several exceptions, "a debt collector may not cominunicate, in connection with the

  collection of any debt," with anyone other than the consumer. 15 U.S.C.

  § 1692c(b). The parties agree that Preferred is a"debt collector," that Hunstein is a

  "consumer," and that the alleged debt at issue here was a"consumer debt," all

  within the meaning of § 1692c(b). Helpfuliy, the parties also agree that Preferred's

  transmittal of Hunstein's personal information to Compumail constitutes a




                                           13
Case 6:21-cv-02017-RBD-LHP Document 1-3 Filed 11/30/21 Page 24 of 33 PageID 30

              USCA91 Ca:se: 19-14434       Dato Filed: 04/21/2021      Page: 14 of 23


       conimunication" within the meaning of the st.atute.3 Accordingly, the sole

   e]uestion before us is whether Prefened's cominunication with Compumail was "in

   connection with the collection of any debt," such that it violates §1692c(b).

   Hunstein coiitends that the plain meaning of the phrase "in connection with the

   collectioii of any debt" and relevant precedents show that it was and does.

   Preferred, conversely, urges us to adopt a"factor-based analysis" that shows that, it

   says, its conununication with Compumail was not "in connection with the

   collection of any debt."

            We begin with the plain meaning of the phrase "in connection with" and its

   cognate word, "connection." Dictionaries have adopted broad definitions of both.

   Webster's Third defines "connection" to mean "relationship or association."

   Connection, VVebster's Third uiternational Dictionaty at 481 (1961), and the

   Oxford I3ictionaiy of English detines the lcey phrase "in connection with" to mean

  "witll reference to [or] concenling," In Connection tiVitlz, Oxford Dictionaiy of

   Eiiglish at 369 (2010). Usage authorities fiu-ther explain that the phrase "in




   3
     Section 1692a(2) defines communication as "the conveying of information regarding a debt
   directly or indirectly to any person through any medium." 15 U.S.C. § 1692a(2).

                                                 14
Case 6:21-cv-02017-RBD-LHP Document 1-3 Filed 11/30/21 Page 25 of 33 PageID 31

             IJSCA11 Case: 19-14434     Daie Fiicd: 04/21/2021    Page: 15 of 23


  connection with" is "uivariably a vague, loose connective." Biyail A. Garner,

  Garner's Dictionary of Legal Usage 440 (3d ed. 2011).

         Prefen-ed's transmittal to Coiiipumail included specific details regarding

  Hunstein 5s debt: Hwistein's status as a debtor, the precise amount of his debt, the

  entity to which the debt was owed, and the fact that the debt concerned his son's

  medical treatmcnt, among other things. It seenis to us inescapable that Preferred's

  coirnnunication to Compumail at least "concer-ned," was "with reference to," and

  bore a"relationship [or] associatior." to its collection of Hunstein's debt. We thus

  hold that Hunstein has alleged a.coiniilunication "in connection with the collection

  of any debt" as that phrase is commonly understood.

         Prefe.rred resists that conclusion on three different grounds, whicli we

  addi-ess in tui-n.



         First, Prefened relies on our inteipretation of another FDCPA provision,

  § 1692e, to argue that communications "in connection with the collection of any

  debt" necessarily entail a demand for payment. In relevant part, § 1692e states that

  "[a] debt collector may not use any false, deceptive, or misleading representation

  or means in coratiectioii with the collectiotz of czny debt." 15 U.S.C. § 1692e

  (emphasis added). In the line of cases interpreting the meaning of "in connection

  with the collection of any debt" in § 1692e, we have focused on the language of the


                                            15
Case 6:21-cv-02017-RBD-LHP Document 1-3 Filed 11/30/21 Page 26 of 33 PageID 32

           llSCA1 t Case: 19-14434       Dato Fiied: 04121/2021    Page: 16 of 23


  underlying communication. In Reese v. Ellis, Painter, Ratterree & Adanas, LLP,

  for instance, in concluding that a law finn's letter to a consumer was "in

  connection with the collection of any debt" within the meaning of § 1692e, we

  emphasized that the letter expressly stated that the f nn was attempting to collect a

  debt and was acting as a debt collector, demanded full and immediate payment,

  and threatened to add attomeys' fees to the outstanding balance if the debtors

  didn't pay. 678 F.3d 1211, 1217 (l lth Cir. 2012). Similarly, in Caceyes v.

  NIr.Calla Raynr.ey, LLC, we held that a collection letter constituted a

   tiommunication in connection witli the collection of a[ny] debt" under § 1692e for

  similai- reasons. Quoting the letter, we einphasized "that it is `for the purpose of

  collecting a debt;' it refers in two additional paragraphs to `collection efforts;' it

  states that collections efforts will continue and that additional attorneys' fees and

  costs will accrue; it states the amount of the debt and indicates that it must be paid

  in certified funds; and it gives the name of the creditor and supplies the law firm's

  phone number in the paragraph where it talks about payments." 755 F.3d 1299,

  l 301-03 (11 th Cir. 2014).

        Relying on Caceres and Reese—both of which, again, addressed § 1692e—

  the district court liere adopted the following test:

        Wheii detei-mining wliether a communication was made in connection
        with the collection of a[ny] debt, the courts look to the language of the
        communication itself to ascertain whether it contains a demand for
        payment and warns of additional fees or actions if payment is not
                                             16
Case 6:21-cv-02017-RBD-LHP Document 1-3 Filed 11/30/21 Page 27 of 33 PageID 33

            USCA11 Case: 19-14434           Date Filed: 04/2112021       Page: 17 of 23


         tendered. Consequently, when detennining whetlier the transmission
         of information to a third party constitutes a violation of the FDCPA, it
         is impoi•tant to consider whether the communication makes an express
         or implied demand for payment.

         The district court's conclusion that the phrase "in connection with the

  collection of any debt" necessarily entails a demand for payment defies tlie

  language and stiucture of § 1692c(b) for two separate but related reasons—neittier

  of which applies to § 1692e. First, the deinand-for-payment interpretation would

  render superfluous the exceptions spelled out in §§ 1692c(b) and 1692b. Consider

  as an initial matter the exceptions specified in § 1692c(b) itself: "[A] debt

  collector may not communicate, in connection with the collection of any debt, witli

  any person other than the consutner, his attorney, a consuiner repa•ting agencv if'

  otherwise pel-rraittecl by lavv, the creditor, the attorn.ev of the cr-eclitor-, or t,he

  ccti.or-trey d/`'the deht collector[.]" 15 U.S.C. § 1692c(b) (emphasis added).

  Communications with four of the six excepted parties—a consumer repoi-ting

  agency, the creditor, the attorney of the creditor, and the attorney of the debt

  collector—would never include a demand for payment. The same is trLie of the

  parties covered by § 1692b and, by textual cross-reference, excluded from

  § 1.692c(b)'s coverage: "person[s] other than the consumer" with whom a debt

  collector might communicate "for the purpose of acquiring location infoi-mation




                                                 17
Case 6:21-cv-02017-RBD-LHP Document 1-3 Filed 11/30/21 Page 28 of 33 PageID 34

           USCA11 Case: 19-14434        Date Fiied: (}4/21/2021   Page: 18 of 23


  about the consumer." Id. § 1692b. A debt collector would presumably never make

  a demand for payinent of a pai-ty matching that description.

        The upshot is that the phrase "in connection witli the collection of any debt"

  in § 1692c(b) nlust mean something more than a mere demand for payment.

  Othei-wise, Congress's enumerated exceptions would be redundant. Under the

  district court's demand-for-payment interpretation, Congress wouldn't have

  necded to include exceptions for communications with consumer reporting

  agencies, creditors, attorneys of creditors, attorneys of debt collectors, or persons

  providing a debtor's location informat.ion;. those communications would have been

  foreclosed ipso facto by the phrase "in connection with the collection of any debt."

  It is a"cardinal principle of statutoiy construction" that "a statute ought, upon the

  whole, to be so construed that, if it cari be prevented, no clause, sentence, or word

  shall be superfluous[.]" Duracan v. bVallcer, 533 U.S. 167, 174 (2001) (quotation

  marks omitted); accord, e.g., Antonin Scalia & Bryan A. Ganler, Reading Law:

  The lntei-pretation of Legal Texts 174 (2012) ("If possible, eveiy word and every

  provision is to be given effect .... None should be ignored. None should

  needlessly be given an intei-pretation that causes it to duplicate another provision or

  to have no consequence."). Because it is possible—and indeed, we think, more




                                            18
Case 6:21-cv-02017-RBD-LHP Document 1-3 Filed 11/30/21 Page 29 of 33 PageID 35

              USCA1 °i Case: 19-14434    C3ate Fileci: 04/21 /2021   Page: 19 of 23


  natural—to interpret § 1692c(b) in a way that does not render most of its textually

  specitied exceptions redundant, we will do so.

          Second, and relatedly, the district court's interpretation renders yet another

  portion of § 1692c(b) meaningless. By insisting on a demand for payment, the

  district court essentially intei-preted "in connection with the collection of any debt"

  to mean "to collect any debt." Under this inteipretation, the key phrase "in

  connection witli" has no independent meaning or force. But as just explained, we

  have a duty to "give effect, if possible, to every clause and word of a statute[.]"

  I_?uncan,   533 U.S. at 174.

          The district court seems to have been led astray by its reliance on decisions

  inteipreting § 1692e, whose language and operation are different from

  § 1.692c(b)'s in important respects. As a linguistic matter, § 1692e contains none

  of the specif c exceptions that § 1692c(b) does; accordingly, there was no risk in

  Reese   or Ca.ceres that, by reading a"demand for payment" gloss into § 1692e, we

  would render other portions of that statute redundant or meaningless. And as an

  operational matter, § 1692e—,AThich prohibits "false, deceptive, or misleading

  representation or means in connection with the collection of any debt"—covers the

  sorts of claims that are brought by recipients of debt collectors' communications—

  i. e., debtors. See Cczceres, 755 F.3d at 1300-1301 (case brought by recipient of

  letter, the debtor); Reese, 678 F.3d at 1214 (same). As its title indicates, by


                                              19
Case 6:21-cv-02017-RBD-LHP Document 1-3 Filed 11/30/21 Page 30 of 33 PageID 36

              USCA11 Case; 19-14434     Dato Fiiecl: 04/2112021   Page: 20 of 23



  contrast, § 1692c(b), targets debt collectors' "[c]ommunication with third parties,"

  not debtors. In the typical § 1692c(b) case, the debtor isn't the recipient of the

  challenged coinmunication. Linguistic differences aside, this practical operational

  difference undennines any argument that the ineaning of the phrase "in coruiection

  with the collection of any debt" must necessarily be the same in § 1692c(b) as in §

  1692e.

                                             nt

         Prcferred separately urges us to adopt the holistic, inulti-factoring balancing

  test that the Sixth Circuit decreed in its unpublished opinion in Goodson v. Bati.k of

  Alra., N.A., 600 Fed. Appx. 422 (6th Cir. 2015). That test counsels courts

  confronting § 1692e's "in connection with the collection of any debt" language to

  take into account the following seven considerations:

         (1) the nature of the relationship of the parties; (2) whether the
         communication expressly demanded payment or stated a balance due;
         (3) whether it was sent in response to an inquiiy or request by the
         debtor; (4) whether the statements were part of a strategy to make
         payment more likely; (5) whether the communication was fiom a debt
         collector; (6) whether it stated that it was an attempt to collect a. debt;
         and (7) whether it threatened consequences should the debtor fail to
         pay.

   Goodson, 600 F. App'x at 431. We decline Prefen•ed's invitation for two related

   reasons.

           First, and perhaps most obviously, Goodson and the cases that have relied on

   it concei-n § 1692e—not § 1692c(b). And as just explained, §§ 1692c(b) and
                                             20
Case 6:21-cv-02017-RBD-LHP Document 1-3 Filed 11/30/21 Page 31 of 33 PageID 37

            USCA91 Case: 19-i4434.       Late Fifecl: 04/21/2021   Page: 21 of 23


   1692e differ both (1) linguistically, in that the fonner includes a series of

   exceptions that an atextual reading risks rendering meaningless, while the latter

   does not, and (2) operationally, in that they ordinarily involve different parties.

   Goodson's seventh factor—whether the communication. threatened consequences

  should the debtor fail to pay—illustrates this point. It makes little sense for a debt

   collector to threaten consequences should the debtor fail to pay in a

   communication that is not sent to the debtor himself.

         Second, we believe that in the context of § 1692c(b), the phrase "in

   connection with the collection of any, debt" has a discenlible ordinary meaning that

   obviates the need for resort to extratextual "factors." All too often, multifactor

   tests—especially seven-factor tests Iike Goodson's—obscure more than they

   illuminate. Pai-ties to FI)CPA-govemed transactions—debtors, creditors, debt

   collectors, lawyers, etc.—are entitled to guidaiice about the scope of permissible

   activity. They are likelier to get it evcn fi-oni. a broadly framed statutoiy language

   than fi-om a judge-made gestalt.

                                              C

         Lastly, Prefen-ed makes what we'll call an "industiy practice" argument. It

   contrasts what it says is the widespread use of mail vendors like Compumail and

   the relative deai-th of FDCPA suits against them. Ivlore pai-ticularly, Preferred

   identifies cases involving mail vendors and emphasizes that none of them hold that


                                             21
Case 6:21-cv-02017-RBD-LHP Document 1-3 Filed 11/30/21 Page 32 of 33 PageID 38

           USCA11 Case: 19-14434        Date Filecl: 04/21/202`l   Page: 22 of 23


  a debt collector's mail vendor violated the FDCPA. True enough, but none of the

  cases that Prefen-ed cites involved § 1692c(b) claims, and the courts in those cases

  certainly had no obligatioii to szca sponte determine whether the collectors'

  communications to their vendors violated § 1692c(b). That this is (or may be) the

  first case in which a debtor has sued a debt collector for disclosing his personal

  infoi-ination to a inail vendor hardly proves that such disclostues are lawful.

        One final (and related) point: It's not lost on us that our inteipretation of

  § 1692c(b) runs the risk of upsetting the statits quo in the debt-collection industry.

  We presume that, in the ordinary course of business, debt collectors share

  information about consumers not only with dunning vendors like Compumail, but

  also with otlier third-party entities. Our reading of § 1692c(b) inay well require

  debt collectors (at least in the short tenn) to in-source inany of the services that

  they had previously outsourced, potentially at great cost. We recognize, as well,

  that those costs may not purchase much in the way of "real" consumer pi-ivacy, as

  we doubt that the Compumails of the world routinely read, care about, or abuse the

  infoimation that debt collectors transmit to them. Even so, our obligation is to

  intei-pret the law as written, whether or not we think the resulting consequences are

  particularly sensible or desirable. Needless to say, if Congress thinks that we've




                                             22
Case 6:21-cv-02017-RBD-LHP Document 1-3 Filed 11/30/21 Page 33 of 33 PageID 39

           USCh111 Case: 19-14434        Date Filed: 04/21 /2021   Page: 23 of 23


  misread § 1692c(b)—or even that we've properly read it but that it should be

  amended—it can say so.

                                             YV

        To sum up, Hunstein has Article III standing to bring his claim under

  § 1692c(b). Further, because Preferred's transmittal of Hunstein's personal debt-

  r-elated infoi-lilation to Compumail constituted a communication "in connection

  with the collection of any debt" within the meaning of § 1692c(b)'s key phrase,

  Hunstein adecluately stated a claim.

        REgTERSED and RElVIA101DEI).




                                             23
